                                                Case 15-52762-pwb                     Doc 56   Filed 07/29/19 Entered 07/29/19 17:30:16                                    Desc
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                                                                                         Form 1
                                                                                                                                                                                                            Page: 1
                                                                     Individual Estate Property Record and Report
                                                                                      Asset Cases
Case No.:     15-52762-PWB                                                                                                                   Trustee Name:        (300320) S. Gregory Hays
Case Name:       DIALLO, MAHMOUD KARIM                                                                                                       Date Filed (f) or Converted (c): 02/12/2015 (f)
                                                                                                                                             § 341(a) Meeting Date:       03/24/2015
For Period Ending:        06/30/2019                                                                                                         Claims Bar Date: 11/27/2017

                                                        1                                            2                              3                            4                      5                          6

                                              Asset Description                                   Petition/                 Estimated Net Value           Property Formally         Sale/Funds                Asset Fully
                                   (Scheduled And Unscheduled (u) Property)                     Unscheduled            (Value Determined By Trustee,         Abandoned            Received by the          Administered (FA)/
                                                                                                   Values                 Less Liens, Exemptions,        OA=§554(a) abandon.          Estate                Gross Value of
  Ref. #                                                                                                                      and Other Costs)                                                             Remaining Assets

    1       4469 Hazeltine Drive, Atlanta GA                                                             144,600.00                               0.00           OA                                 0.00                        FA
            Notice of abandonment filed on 8/25/17, Dkt # 51.

    2       Cash                                                                                               20.00                              0.00                                              0.00                        FA

    3       Checking Account with Chase                                                                       100.00                              0.00                                              0.00                        FA

    4       Savings Account with Chase                                                                          9.00                              0.00                                              0.00                        FA

    5       5 brs, lr, dr, 4 tvs, 1 dvd, vcr, surround sound                                               5,000.00                               0.00                                              0.00                        FA

    6       Clothing                                                                                          200.00                              0.00                                              0.00                        FA

    7       2005 Nissan Altima                                                                             5,725.00                               0.00           OA                                 0.00                        FA
            Notice of abandonment filed on 8/25/17, Dkt # 51.

    8       Judgment against Genesis Express, Inc. et al (u)                                              98,105.00                         98,105.00                                               0.00                98,105.00
            plus interest. Potentially subject to attorney lien.

    8       Assets                 Totals        (Excluding unknown values)                          $253,759.00                           $98,105.00                                           $0.00                  $98,105.00



        Major Activities Affecting Case Closing:
                                         Case was originally filed in year 2015 and closed on 7/13/15. Trustee was contacted regarding an undisclosed judgment. The case was reopened on
                                         7/27/17 and Trustee was reappointed. Trustee has been in touch with attorney pursuing claim on behalf of debtor and with the judgment debtor in hopes
                                         of resolving the matter. Based on the settlement offer of the judgment debtor, the amount of the judgment ($98k), attorney lien ($75k) against the
                                         judgment, location of the judgment in Texas and the necessity to hire substitute counsel to collect, the Trustee does not anticipate a meaningful
                                         distribution to unsecured creditors. The Trustee filed his NDR on 7/23/19.

        Initial Projected Date Of Final Report (TFR):                         12/31/2019                                Current Projected Date Of Final Report (TFR):                       12/31/2019


             07/29/2019                                                                                                   /s/S. Gregory Hays

                   Date                                                                                                   S. Gregory Hays
